Case 2:05-cV-02544-.]P|\/|-de Document 18 Filed 08/19/05 Page 1 of 4 Page|D 10

 

IN THE UNITED sTATES DIsTRICT CoURT F"£D B"' lg'-- D-C-
FOR THE WEsN/TE];LSBT§§§$§§§(§); TENNESSEE 05 AUG l 9 PH 3: m
DQMAS-M. GOU|_D
sYDNEY L. GRAHAM, CLEV%%§ WT°*Q;W%(§BT
Plaintiff,

VS.

Civil No. 05-cv-02544 - MI/V

NORMAN Y. MINETA, SECRETARY,
DEPARTMENT OF TRANSPORTATION,

Defendaot.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held August 25, 2005. Present

Werc Amanda Williams, counsel for plaintiff, and Harriett M. Halmon, counsel for defendants

At the conference, the following dates Were established as the final dates for:

l.

2.

Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1): September 8, 2005
Joining Parties: October 24, 2005.
Amending Pleadings: October 24, 2005
Initial Motions to Dismiss: November 30, 2005
Completing All Discovery: March 15, 2006
(a) Document Production: March 15, 2006
(b) Deposition, Interrogatories, Requests for Admissions: March 15, 2006
(c) Expert Witness Disclosures:
(l) Disclosure of Plaintiff’s Rule 26 Expert: January 15, 2006

(2) Disclosure of Defendant’s Rule 26 Expert: February 25, 2006

Thls document entered on the docket sheet fn compllancl
w|th Ru|a 58 and/or 79 (a) FRCP on g ’£,;2 125 /Y

Case 2:05-cV-02544-.]P|\/|-de Document 18 Filed 08/19/05 Page 2 of 4 Page|D 11

(3) Expert Witness Depositions: March 15, 2006

6. Filing Dispositive Motions: April 15, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for a jury trial, and the trial is expected to last 2 days. The
pretrial order date, pretrial conference date, and the trial date will be set by the presiding judge.

This case is appropriate for ADR

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed R.Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motions filed in this matter, Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This Order has been entered after consultation with the parties pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDER_ED. /©Ma/;Lc L%. gywa

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JU])GE

Date: a,(,{;y(}d/l! /Z gig-

 

Case 2:05-cV-02544-.]P|\/|-de Document 18

APPROVED FOR ENTRY:

    
 

ANDA WILLIAMS
MELLVILLE JOHNSON
Counsel for Plaintiff

TERRELL L. HARRIS
UNITE STATES ATTORNEY

 
    

ETT MILLER HALMON
Assistant United States Attorney
Counsel for Defenant

Filed 08/19/05 Page 3 of 4 Page|D 12

a_/q-@;;~

 

Date

5-/~ /4~ 05’“

 

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02544 was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

ESSEE

 

Amanda M. Williams
l\/IELVILLE JOHNSON
44 Broad St.7 N.W.

The Grant Building

Ste. 222

Atlanta, GA 30303

Christopher D. Vaughn
l\/IELVILLE JOHNSON
44 Broad St.7 N.W.

The Grant Building

Ste. 222

Atlanta, GA 30303

Alonzo H. Long

U.S. ATTORNEY'S OFFICE- Atlanta
75 Spring St., S.W.

400 United States Courthouse
Atlanta, GA 30303

Harriett M. Halmon

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

